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                               UNITED STATES OF AMERICA
                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION




UNITED STATES OF AMERICA,

                        Plaintiff,                    Case No. 2:07-cr-16-01

v.                                                    HON. R. ALLAN EDGAR

JESSICA LYNN KENDALL,

                  Defendant.
____________________________________/


                              REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on June 28, 2007, after receiving the written consent of defendant and all counsel. At the

hearing, defendant JESSICA LYNN KENDALL entered a plea of guilty to Count 1 of the Felony

Information, charging defendant with Conspiracy to Distribute and Possess with Intent to Distribute

50 Grams or More of Mixture or Substance Containing Detectable Amount of Cocaine in violation

of 21:846; 21:841(a)(1); 21:841(b)(1)(A)(iii), in exchange for the undertakings made by the govern-

ment in the written plea agreement. On the basis of the record made at the hearing, I find that

defendant is fully capable and competent to enter an informed plea; that the plea is made knowingly

and with full understanding of each of the rights waived by defendant; that it is made voluntarily and

free from any force, threats, or promises, apart from the promises in the plea agreement; that the

defendant understands the nature of the charge and penalties provided by law; and that the plea has

a sufficient basis in fact.
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               I therefore recommend that defendant's plea of guilty to Count 1 of the Felony

Information be accepted, that the court adjudicate defendant guilty, and that the written plea

agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, determination of defendant's status pending

sentencing, and imposition of sentence are specifically reserved for the district judge. The clerk is

directed to procure a transcript of the plea hearing for review by the District Judge.



Date: June 28, 2007                                    /s/ Timothy P. Greeley
                                                      TIMOTHY P. GREELEY
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH . L.CR.R. 11.1(d).




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